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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

3SHAPE A/S,                                   )
                                              )
               Plaintiff,                     )
                                              )
          v.                                  )   C.A. No. 18-886-LPS
                                              )
ALIGN TECHNOLOGY, INC.,                       )   CONSOLIDATED
                                              )
               Defendant.                     )

                            STIPULATION TO EXTEND TIME

      The parties hereby STIPULATE AND AGREE, subject to the approval of the Court, that

      1. The date by which the parties are required to submit an amended scheduling order as

         discussed at the February 10, 2020 teleconference (D.I. 89) shall be extended to

         March 20, 2020.

      2. The date by which the parties are required to submit an interim status report (D.I. 20,

         ¶ 14) shall be extended to March 20, 2020.


   /s/ Geoffrey G. Grivner                            /s/ Jeff Castellano
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   Dated: March 16, 2020                              jcastellano@shawkeller.com
                                                      Attorneys for Defendant



IT IS SO ORDERED THIS ___ day of ___________, 2020.


                                                         United States Magistrate Judge
